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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA


                                       CIVIL MINUTES – GENERAL

    Case No.   LA CV19-02556 JAK (RAOx)                                    Date     October 27, 2021
    Title      Kitsch, LLC v. Deejayzoo, LLC
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    Present: The Honorable          JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                     T. Jackson                                         Not Reported
                    Deputy Clerk                                 Court Reporter / Recorder
            Attorneys Present for Plaintiffs:                Attorneys Present for Defendants:
                      Not Present                                        Not Present


    Proceedings:          (IN CHAMBERS) ORDER REGARDING SUBSTITUTION OF COUNSEL
                          (DKT. 215)

Defendant has filed a motion for reconsideration of the Order granting a substitution of attorney (Dkt.
214) and Order setting expert deadlines (Dkt. 211). See Dkt. 215. Plaintiff does not oppose the
motion. For the reasons set forth in the motion, the motion is GRANTED and the Order granting
substitution of attorney (Dkt. 214), which made local counsel sole counsel without the consent of
local counsel or Defendant, is hereby STRICKEN. The motion to withdraw as counsel (Dkt. 213),
improperly noticed for November 12, 2021, is reinstituted and reset for hearing on Monday,
November 15, 2021 at 8:30 a.m. in Courtroom 10B. In light of the compressed time frame, any
opposition thereto is due within seven (7) days of this Order. No reply is necessary. If Defendant
obtains new counsel before the hearing date, Defendant’s current counsel, local counsel, and new
counsel may file a joint supplement to the motion to withdraw stating the resolution of this issue and
providing a proposed order reflecting the substitution of counsel. A proper substitution of counsel will
moot the hearing. To allow Defendant sufficient time to retain new counsel, the expert deadlines set
forth in Dkt. 211 are hereby modified as follows: Defendant’s Expert Disclosure: November 29, 2021;
Deposition of Defendant’s Expert: December 10, 2021; Plaintiff’s Expert Rebuttal: January 10, 2022;
Deposition of Plaintiff’s Expert: February 4, 2022; Deadline for Daubert Motions: March 4, 2022.

IT IS SO ORDERED.


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